
FIELD, J.
I concur with the other judges in the opinion that the judgment in this case should be reversed. But I do not entirely concur in the opinion which has been delivered by,judge Scott. It seems to me that some of the principles set forth in that opinion, are in ^Conflict with the decision of this court in Maile’s case, 9 Leigh 661. That case was decided by a very full court, after much debate, and deliberation. I was one of the majority of the court which decided it: and I then thought that an opinion founded on mere rumor was a hypothetical opinion, and such as ought not of itself to disqualify a man from giving the prisoner a fair and impartial trial. ,1 yet retain the same opinion : I am not willing to subscribe to principles that appear to me in conflict with the decision of Maile’s.case.
Judgment reversed, and cause sent back for a venire de novo. ■ • ...
